









Dismissed and Memorandum Opinion filed October 6, 2005









Dismissed and Memorandum Opinion filed October 6,
2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00610-CR

____________

&nbsp;

EDGAR ARGETA
TRUJILLO, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
263rd District Court

Harris County,
Texas

Trial Court Cause No. 557,063

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a plea of no contest to aggravated sexual
assault of a child.&nbsp; In accordance with
the terms of a plea bargain agreement with the State, the trial court sentenced
appellant on June 1, 2005, to confinement for twenty years in the Institutional
Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of appeal.&nbsp; Because appellant has no right to appeal, we
dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed October 6, 2005.

Panel consists of Chief Justice
Hedges and Justices Yates and Anderson.

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;





